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AO 199A (Rev. 12/ll) Order Setting Conditions of Release                                                   Page l of    3      Pages


                                      UNITED STATES DISTRICT COURT                                             Fll~'-W '~)
                                                                                                            U.S. DISTRICT CC..;".~
                                                           Eastern District of Arkansas                 EASTERN DISTRICT ARKAr-..~r-.S

                                                                                                            MAY 26 2017
                                                                                                JAMESW.
                                                                                                By: _ _-+-if-¥--~=--
               United States of America

                              v.                                         Case No.: 4:17CR001 ll-19 JM

                    Antonio L. Lewis



                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

( 1)   The defendant must not violate any federal, state or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample ifit is authorized by 42 U.S.C. § 14135a.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence
       that the court may impose.

       The defendant must appear at Court Room 4A, Richard Sheppard Arnold United States Courthouse, 500 West
       Capitol Avenue, Little Rock, Arkansas, before the Honorable James M. Moody Jr. on 6/26/2017 at 9: 15 a.m ..

           If blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.
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 A:() 1998 (Rev. 12/11) (AREJ? Rev. 01/31/13) Additional Conditions ofRelease                                                                Page _l._ of _3_ Pages

                                                        ADDITIONAL CONDITIONS OF RELEASE
         IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

     ) (6) The defendant is placed in the custody of:
              Person or organization
              Address (only if above is an organi=ation)   _R_e_d_a_ct_e_d_P_u_r_s_u_a_n_t_to'--F_.R_._C_r_.P_4_9_.I_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              City and state                                                                                                  Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately

                                                                                Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                            CustodianDate
  (x )     (7)       The defendant must:
         ( x)         (a) submit to supervision by and report for supervision to the U.S. Pretrial Services Office,
                          telephone number        501-604-5240                         ----------"'-------------------
                                                                      , no later than as directed by the Pretrial Officer
            x )       (b) continue or actively seek employment.
                 )    (c) continue or start an education program.
                 )    (d) surrender any passport to:
                 )    (e) not obtain a passport or other international travel document.
                 )    (t) abide by the following restrictions on personal association, residence, or travel:

                      (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                          including:

                      (h) get medical or psychiatric treatment:

                      (i) return to custody each                  at            o'clock after being released at                   o'clock for employment, schooling,
                          or the following purposes:

                      G). maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                          necessary.
            x)       (k) not possess a firearm, destructive device, or other weapon.
            x)        (I) not use alcohol (                 V}
                                                    ) at all (      excessively.
            x)       (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed·.
                          medical practitioner.
            x)       (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with ·
                          random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                          prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                          of prohibited substance screening or testing.
            x)       (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                          supervising officer.
                     (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                                                                                                                                                to, or
                                  (i) Curfew. You are restricted to your residence every day (           ) from
                                                                                                                                             ()as
                                       directed by the pretrial services office or supervising officer; or
                                  (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                       medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                       activities approved in advance by the pretrial services office or supervising officer; or
                               ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                       court appearances or other activities specifically approved by the court.
                     (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                          requirements and instructions provided.
                          (    ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                                 supervising officer.
            x) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel,
                   including arrests, questioning, or traffic stops.
           x ) (s) must maintain regular contact with your attorney no less than every two weeks.
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• AO l 99C (Rev. 09/08) (ARED Rev. 01/31/13) Advice of Penalties                                             Page _3_ _ _ of _3_ _ _ Pages

                                              ADVICE OF PENALTIES AND SANCTIONS

 TO THE DEFENDANT:

 YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

        Violating any of the foregoing conditions ofrelease may result in the immediate issuance ofa warrant for your arrest, a
 revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
 imprisonment, a fine, or both.                                                                                                     ·
        While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten
        years
 and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
 consecutive (i.e., in addition to) to any other sentence you receive.
        It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
 tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
 attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation
 are significantly more serious if they involve a killing or attempted killing.
        If, after release, you knowingly fail to appear as the conditions ofrelease require, or to surrender to serve a sentence,
 you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
        (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more -you will be fined
              not more than $250,000 or imprisoned for not more than 10 years, or both;
        (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
              more than $250,000 or imprisoned for not more than five years, or both;
        (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
        (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
        A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
 addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                       Acknowledgment of the Defendant

        I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
 conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
 set forth above.




                                                                                 Defendant's Signature



                                                                                     City and State


                                                   Directions to the United States Marshal

 (   ~e defendant is ORDERED released after processing.
 (     ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
         has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
         the appropriate judge at the time and place specified.


 Date:   s-/;u, / /~
                                                                    PATRICIA S. HARRIS, U.S. MAGISTRATE JUDGE

                                                                           Printed name and title


                DISTRIBUTION:         COURT         DEFENDANT      PRETRIAL SERVICE          U.S. ATTORNEY       U.S. MARSHAL
